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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

    ALAN ROSA,

              Plaintiff,                                              Civil Action No.

    v.
                                                                       COMPLAINT
    X CORP.; X HOLDINGS CORP.; ELON
    MUSK; STEVE DAVIS; JOHN DOES 1-10;
    and ABC CORPS. 1-10;                                     DEMAND FOR JURY TRIAL

              Defendants.




         Plaintiff, Alan Rosa (“Plaintiff”), by and through his attorneys Deutsch Atkins &

Kleinfeldt, P.C., by way of Complaint against Defendants X Corp.; X Holdings Corp. (collectively

“Twitter”) Elon Musk, and Steve Davis (“Defendants”) alleges the following:

                                         INTRODUCTION

         1.    Plaintiff, a former employee of Twitter, Inc. (“Twitter”) 1, which was rebranded as

X, brings this suit seeking legal and equitable relief against Defendants for (1) Breach of Contract

and Breach of Duty of Good faith and Fair Dealing; (2) unlawful termination in violation of the

New Jersey Conscientious Employee Protection Act, N.J.S.A. §34:19-1 et seq.; (3) common law

retaliation; (4) violations of New York Labor Law §740 and California Labor Code §1102.5; (5)

wrongful termination in violation of public policy; and (6) violations of the federal WARN Act,




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  Around the time of the events set forth in the Complaint, Defendant X Corp., a wholly owned subsidiary
of Defendant X Holdings Corp., became successor in interest to the company formerly known as Twitter,
Inc., and assumed all of Twitter, Inc.’s debts and obligations. In April 2023, the company was rebranded
as X. For clarity and consistency, this Complaint refers to Plaintiff’s former employer as Twitter.
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29 U.S.C. §§2101 et seq., the California WARN Act, Cal. Lab. Code §1400 et seq. and New York

WARN Act, N.Y. Lab. Law §§ 860 et seq.

        2.         In connection with Plaintiff’s employment at Twitter, Plaintiff signed and entered

into a Dispute Resolution Agreement (“Arbitration Agreement”) with Twitter.

        3.         The Arbitration Agreement requires that claims for arbitration be brought before

Judicial Arbitration and Mediation Services (“JAMS”), an alternative dispute resolution provider,

pursuant to the then-current JAMS rules.

        4.         On April 14, 2023, Plaintiff filed a Demand for Arbitration against Defendants. An

arbitrator was appointed to his case and Plaintiff paid his portion of the filing fee.

        5.         Pursuant to the JAMS employment Minimum Standards, an employee who brings

an arbitration case at JAMS must pay an initial filing fee and all other arbitration fees, including

fees to pay the arbitrator, must be borne by the employer.

        6.         JAMS determined that the employment Minimum Standards apply under the JAMS

rule and further determined that Twitter was responsible for all the arbitration fees with the

exception of Claimant’s portion of the filing fee.

        7.         To date, Twitter has refused to pay its portion of the arbitration fees despite being

ordered by JAMS to do so.

        8.         JAMS has further advised Twitter that after the initial deposits are paid, Twitter can

raise the issue regarding fees with arbitrator. Yet, Twitter has still failed to pay its required initial

deposit.

        9.         On August 21, 2023, September 20, 203, and December 4, 20023, JAMS advised

the parties that if the fee is not paid, the file will be closed.

        10.        Defendants never responded to these emails and never paid their portion of the

arbitration fee.
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       11.     When a party fails to advance required fees for an arbitration to commence it is

considered an obstruction of the arbitration process, which disentitles said party from enforcing an

arbitration clause in a contract. Heisman v. Wyndham Vacation Resorts, Inc., 2021 U.S. Dist.

LEXIS 55369, *10 (D.N.J. Mar. 22, 2021) (internal citations omitted).

       12.     As a result of Defendants’ obstruction of the arbitration process, the Plaintiff was

forced to file this Complaint.

                                             PARTIES

       13.     Plaintiff, a citizen of New Jersey, was an employee of Twitter from January 24,

2022 until he was unlawfully terminated on December 6, 2022. Plaintiff was Head of Global

Information Technology and Information Security and worked remotely for Twitter performing

the majority of his job duties from his home in New Jersey. However, at times, he worked out of

the New York office and California office.

       14.     Defendant X Corp. (“Defendant X Corp.” and/or “X Corp.”) is a Nevada

corporation and the successor to Twitter, Inc.

       15.     Twitter, Inc. merged into Defendant X Corp. in or around March 2023, and as a

result, Twitter, Inc. and X Corp. are a single entity. X Corp. succeeded all of Twitter, Inc.’s

obligations upon the merger, including liability for the unlawful acts of Twitter, Inc.

       16.     Upon information and belief, Defendant X Corp. has headquarters at Twitter’s

former headquarters and principal place of business at 1355 Market Street #900, San Francisco,

California 94103 and maintains Twitter’s former New York office at 249 W. 17th Street, New

York, NY 10011.

       17.     Defendant X Holdings Corp. is a Nevada corporation, and is the parent corporation

of Defendant X Corp.



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          18.   Defendant Elon Musk (“Musk”) assumed ownership of Twitter and served as Chief

Executive Officer at Twitter at all times relevant to the pleadings.

          19.   Defendant Steve Davis (“Davis”) was a high-level advisor at Twitter at all times

relevant to the pleadings.

          20.   Defendants, John and Jane Does 1-10, currently unidentified, are individuals who,

on the basis of the direct acts or on the basis of respondeat superior, are answerable to the Plaintiff

or the acts set forth herein, and/or are currently unknown employees, Officers, or Board members

who were either senior management level employees or Officers who controlled Plaintiff’s

workplace, and supervised Plaintiff and aided and/or abetted in the commission of conduct

complained of herein and/or who either acted within the scope of their employment or Offices at

the workplace during working hours, or, to the extent they went beyond the scope of their

employment or Offices, Defendants ratified, embraced and added to their conduct.

          21.   Defendants, ABC Corporations 1-10, currently unidentified, are unknown entities

who, on the basis of the direct acts or on the basis of respondeat superior and/or are unknown

affiliated corporations or entities or other corporations who have liability for the claims set forth

herein.

                                   JURISDICTION & VENUE

          22.   Jurisdiction of this Court is proper because this litigation arises under federal law,

namely 29 U.S.C. §§2101 et seq. This court has jurisdiction over this matter under 28 U.S.C. §

1332.

          23.   This Court also has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because there is a complete diversity of citizenship between the parties hereto and the

amount in controversy exceeds $75,000.



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       24.       The Court has personal jurisdiction over Defendants because it regularly engages

and conducts business in New Jersey.

       25.       Venue is proper in this Court pursuant to the provisions of 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims occurred in this

District, and damages to Plaintiff occurred in this District as a result of Defendants’ conduct as

alleged below.

                                   FACTUAL ALLEGATIONS

       26.       Twitter is a social media company that employs thousands of individuals across the

United States.

       27.       Plaintiff commenced employment at Twitter on January 24, 2022, as Head of

Global Information Technology and Information Security.

       28.       Plaintiff was responsible for the Global Information Technology and Information

Security organization (500 Tweeps) across all Twitter businesses headquartered in San Francisco

with sites across the United States.

       29.       Plaintiff entered into an employment agreement that Twitter provided to him on or

around December 13, 2022.

       30.       The employment agreement provided compensation terms. In addition to Plaintiff’s

base compensation, the Company agreed to pay Equity Compensation to Plaintiff as follows:

                 Equity Compensation. Subject to the approval of the Compensation
                 Committee of the Company’s Board of Directors (or an authorized
                 subcommittee), you will be granted a specified number of restricted stock
                 units of the Company (‘RSUs’). The number of RSUs that are granted to
                 you, if approved, will be determined by dividing $5,000,000.00 USD by the
                 prevailing RSU conversion rate in effect during the month in which your
                 employment role commences under the terms of this offer letter, rounded
                 up to the nearest whole share. (Note: for the purposes of the RSU grant
                 under this paragraph, your employment commencement date is anticipated
                 to be your Start Date as set out above, unless delayed or deferred for any
                 reason. In the event you have been previously engaged by the Company in
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               any capacity under a different role or arrangement, such prior service will
               not count for the purposes of your RSU grant). The RSUs will be subject to
               the terms of the Company’s 2013 Equity Incentive Plan and its form of RSU
               agreement (the ‘Equity Documents’). You will vest in 12.5% of the RSUs
               on the six month anniversary of the first day of the month following your
               Start Date, provided you have continued to provide services to the Company
               until that date, and over your next three and a half years of continuous
               service with the Company you will vest 6.25% per quarter, as will be further
               described in the Equity Documents. Be advised that the calculation used to
               determine the number of RSUs granted is determined in the sole discretion
               of the Company and will not correlate to any published stock price on your
               date of hire and, furthermore, does not denote, nor can it predict, the future
               value of any RSUs. Stock prices are by nature volatile, and there is no way
               to predict the value of your future shares, if and when they vest. Subject to
               your continued employment in an equity eligible role, you will be eligible
               to receive future equity grants.

        31.    Per the employment agreement, Twitter issued Restricted Stock Units (“RSUs”),

which represent full-value shares, to Plaintiff, subject to the vesting plan and distribution schedule.

        32.    Per the employment agreement, 12.5% of the RSUs that were issued to Plaintiff

vest on the first day of the month following the Plaintiff’s six-month anniversary of his Company

start date.

        33.    Thereafter, per the employment agreement, 6.25% of the RSUs that were issued to

Plaintiff vest per quarter over the next three and half years.

        34.    On or about August 1, 2022, 12.5% of the RSUs that were issued to Plaintiff vested,

and the Plaintiff was paid per the vesting plan and distribution schedule.

        35.    In November/December 2022, Plaintiff had approximately 5.82 million in

remaining shares, which were expected to vest over the next three years, with the first vesting on

February 1, 2023, in the amount of $363,878.43.

        36.    In addition to Plaintiff’s base compensation and Equity Compensation, per the

employment agreement, the Company agreed to pay the Plaintiff a performance bonus award as

follows:

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               Performance Bonus Plan. You may be eligible to earn a discretionary
               performance bonus award in accordance with the Company’s discretionary
               Performance Bonus Plan as it may exist and/or be amended from time to
               time. For the current Performance Bonus Plan year, the Performance Bonus
               Plan target for your position is 40% of annual eligible earnings, paid
               pursuant to the terms and conditions in the Performance Bonus Plan.

       37.     Plaintiff was expected to receive his 2022 earned performance bonus award in the

amount of $200,000 in February 2023.

       38.     On or around October 28, 2022, Musk, a multi-billionaire, purchased the Company

and assumed ownership.

       39.     Immediately thereafter, on or around November 1, 2022, Elon Musk began laying

off half of the Company’s workforce.

       40.     Prior to Musk’s purchase, the FTC charged Twitter with violating the 2011 FTC

Order, by collecting users’ personal information for the stated purpose of security and then

exploiting it commercially. Twitter paid a $150 million-dollar civil penalty and entered into a new

consent order on May 26, 2022 (“Twitter FTC Consent Decree”).

       41.     The Twitter FTC Consent Decree required Twitter to establish, implement, and

maintain a comprehensive privacy and information security program, including substantial new

compliance measures to prevent further misleading tactics that threatened the potential privacy and

security of confidential user information.

       42.     Musk was consistently dismissive of the Twitter FTC Consent Decree and Twitter’s

obligations under it.

       43.     On or around November 2, 2022, Twitter notified Plaintiff that he had been selected

to run the IT, Security, and Privacy teams.




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       44.     Shortly after assuming ownership, Musk hired Davis to serve as a high-level

advisor at Twitter giving Davis authority to direct Plaintiff’s work activities and/or undertake

tangible employment decisions affecting the Plaintiff.

       45.     Davis, like Musk, was dismissive of the Twitter FTC Consent Decree and began

cutting Twitter’s products and services that supported and complied with the Twitter FTC Consent

Decree.

       46.     For example, Davis did not want to pay for vulnerability management software and

he resisted paying for the Company’s ethical hacking program called “HackerOne”.            Both

programs were necessary for Twitter to comply with the Twitter FTC Consent Decree.

       47.     Plaintiff objected to these cuts as he had a reasonable belief that cutting these

programs would prevent Twitter from complying with its obligations under the Twitter FTC

Consent Decree Order.

       48.     On or around November 21, 2022, Davis directed Plaintiff to shut down Salesforce,

which is legal case software that enables Twitter to share details with law enforcement entities

around the world regarding time-sensitive and important legal matters.

       49.     Plaintiff objected to the direction to shut down Salesforce due to the dependency

between the Legal Case Review platform and Salesforce as the immediate shutdown would violate

the Digital Service Act’s (“DSA”) legal requirements and jurisdictional rules around the globe by

compromising Twitter’s inability to properly handle law enforcement inquiries.

       50.     Plaintiff disclosed his objection to Jim Baker, Deputy General Counsel and Vice

President, Legal, Twitter, Inc., and reiterated the difficulties and consequences of recklessly

turning off the solution without an alternative, as Twitter would be violating the DSA and

jurisdictional rules around the globe because the Company would be unable to respond to law

enforcement inquiries if Salesforce was abruptly shut down.
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       51.     On or around the evening of December 1, 2022, Davis directed Plaintiff to cut the

physical security budget by an additional 50% by midnight. This was done in hours, not days.

       52.     Plaintiff immediately objected to participating in such activity, as he had a

reasonable belief that such an immediate budget cut, after already cutting the budget by 50%,

would put the physical building at risk of violating a Court Order (explained infra at ¶31) and it

posed a substantial danger to public safety.

       53.     The physical building, whose security he had to immediately cut, stored over 800

laptops and other electronic devices that were subject to litigation holds, per Court Orders, which

required the Company to ensure that the physical data on the laptops and other electronic devices

in the building were preserved and were not removed, destroyed, or altered in any way.

       54.     Plaintiff had a reasonable belief that quickly cutting the physical budget again,

within hours, without new security measures in place would violate the litigation holds, per the

Court Orders, as there would be no way to preserve the physical laptops and other electronic

devices to ensure that they were not altered in any way.

       55.     Plaintiff also had a reasonable belief that cutting the physical budget again, without

new security measures in place, posed a substantial and specific danger to public health and/or

safety because there were numerous protestors at the physical building location.

       56.     A few hours following Plaintiff’s objection, Davis called Plaintiff, advised him that

he was removing Plaintiff’s oversight of the physical security team, and abruptly hung up the

phone on Plaintiff.

       57.     Five days later, on December 6, 2022, Twitter revoked Plaintiff’s Company access,

without notice, effectively removing Plaintiff from the Company and terminating his employment.

       58.     Twitter provided no reason for Plaintiff’s termination.



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       59.     Plaintiff was terminated in retaliation for objecting to the activities of Defendants

that the Plaintiff reasonably believed to be unlawful.

       60.     Twitter advised Plaintiff, after his termination, that he would receive a severance

package, his February 1st vesting compensation, bonus compensation, and two months of paid

COBRA benefits, as this was being provided to all other laid-off Company employees.

       61.     Thereafter on December 16, 2022, Twitter advised Plaintiff that his severance

paperwork and severance package was being put on hold pending an investigation regarding his

conduct during his employment.

       62.     Plaintiff was never advised as to the nature of, nor the outcome of the investigation,

nor was he interviewed regarding same, despite his many inquiries to the Company.

       63.     The purported investigation into Plaintiff’s conduct was a sham investigation,

conducted in an attempt to deprive Plaintiff of his severance package, his February 1st vesting

compensation, bonus compensation, and two months of paid COBRA benefits that were being

provided to all other terminated Company employees.

       64.     Further, Twitter refused to reimburse Plaintiff for his then-existing legitimate

business expenses in the amount of $4,800, in violation of Company policy.

       65.     Plaintiff’s termination was a deliberately timed, bad faith effort to deprive Plaintiff

of his equity compensation and performance bonus as set forth in his employment agreement.

       66.     New Jersey law does not permit the actions of firing an employee in order to avoid

paying equity compensation or bonus compensation:

               The New Jersey Supreme Court has held that there is an implied
               covenant of good faith and fair dealing in every contract.
               Onderdonk v. Presbyterian Homes of N.J., 85 N.J. 171, 182
               (1981); Bak-A-Lum v. Alcoa Bldg. Prod., 69 N.J. 123, 129-30,
               (1976); Association Group Life, Inc. v. Catholic War Veterans of
               U.S., 61 N.J. 150, (1972); Palisades Properties, Inc. v. Brunetti,
               44 N.J. 117, 130, (1965). As a corollary to that proposition, the
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               Court commented that it is reasonable to imply that neither
               party to a contract shall injure the right of the other to receive
               the fruits of the agreement. Onderdonk, 85 N.J. at 182 (citations
               omitted). A cognizable cause of action for breach of the implied
               duty of good faith and fair dealing in the employment context
               exists where the employer attempts to deprive the employee of
               the benefits of the employment agreement without an honest
               belief that good cause for discharge is in fact present. See Noye
               v. Hoffmann­ La Roche, Inc., 238 N.J. Super. 430,570 A.2d 12
               (App. Div. 1990), certif. denied, 122 N.J. 146 (1990); see also
               Nolan v. Control Data Corp., 243 N.J. Super. 420,579 A.2d 1252
               (App. Div. 1990).

               In the absence of a contract, there is no implied covenant of good
               faith and fair dealing under New Jersey law. See Noye, 238 N.J.
               Super. at 433. However, an implied obligation of good faith is
               applicable to those aspects of the employer-employee
               relationship which are governed by some contractual terms,
               even if the employment is characterized as being "at­ will."
               Nolan, 243 N.J. Super. at 429.

               King v. Port Auth, 909 F. Supp. 938, 941-42 (D.N.J.1995)
               (emphasis added), see also Palisades Properties, Inc. v.
               Brunetti, 44 N.J. 117, 130 (1965)(“neither party shall do anything
               which will have the effect of destroying or injuring the right of
               the other party to receive the fruits of the contract; in other words
               in every contract there exists an implied covenant of good faith
               and fair dealing”).

       67.     Plaintiff was terminated approximately one month before he was to receive his

bonus compensation in the amount of $200,000 and his February 1, 2023 vested equity

compensation in the amount of $363,878.43. The termination of Plaintiff was a deliberate effort

by Defendants to deprive Plaintiff of his bonus compensation and equity compensation in the total

amount of 5.8 million shares owed to Plaintiff and divert it to Twitter.

       68.     Punitive damages are available where executive-level employees of a Company

deprive an employee of the benefits of a contract, as the company will be vicariously liable for the

malicious actions of its executives/employees. Cappiello v. Ragen Precision Industries, Inc., 192

N.J.Super. 523, 531-32 (App. Div. 1984).

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         69.   At all times Plaintiff’s job performance was beyond satisfactory.

         70.   Plaintiff was terminated in an unexplainable fashion as he did nothing wrong that

would justify his termination. No reason was provided to Plaintiff explaining why he was being

fired.

         71.   The New Jersey Conscientious Employee Protection Act, N.J.S.A. 34:19-1, et seq.

(“CEPA”), the New York Labor Law Section §740, and the California Labor Code §1102.5 make

it illegal for an employee to take any adverse employment action against an employee because the

employee objects to any activity that the employee reasonably believes to be in violation of a law,

rule, or regulation, including any violation involving the deception of or misrepresentation to a

client or a governmental entity. See also, N.J.S.A. 34:19-3(c). As recognized by the New Jersey

Supreme Court:

               The purpose of CEPA is to protect employees who report illegal or
               unethical work-place activities. So viewed, CEPA is remedial
               legislation. Consequently, courts should construe CEPA liberally to
               achieve its remedial purpose. Stated differently, CEPA is supposed
               to encourage, not thwart, legitimate employee complaints.

               Estate of Roach v. TRW, Inc., 164 N.J. 598, 609-610
               (2000)(citations omitted)

         72.   CEPA permits the recovery of the full spectrum of tort-related damages, including

back pay, front pay (lost future wages), emotional distress, reinstatement, and punitive damages.

See N.J.S.A. 34:19-5. Additionally, prevailing plaintiffs may recover attorneys’ fees and costs

pursuant to the law’s fee-shifting provisions.

         73.   Plaintiff was terminated in retaliation for objecting to the activities of Defendants

that the Plaintiff reasonably believed to be unlawful.

         74.   Plaintiff is entitled to lost income, emotional distress damages, and punitive

damages.

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                                          COUNT I
                                     Breach of Contract
                        Breach of Duty of Good Faith and Fair Dealing

       75.     Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

       76.     Twitter and Plaintiff agreed to certain terms and conditions of employment,

specifically as it related to compensation.

       77.     The agreement between Plaintiff and Twitter contained an implied covenant of

good faith and fair dealing, which obligated Twitter to perform the terms and conditions of the

agreement fairly and in good faith to ensure Plaintiff received the benefits to which he was entitled

to, that the parties had agreed to, and to refrain from doing any act in a bad faith manner that would

deprive Plaintiff of the benefits of their agreement.

       78.     Plaintiff has performed all conditions, covenants, and promises required on his part

to be performed in accordance with the terms and conditions of the employment agreement.

       79.     Twitter terminated Plaintiff less than two months before he was to receive his bonus

compensation and his February 1, 2023, vesting deliberately to deprive Plaintiff of the benefits of

his bonus and equity compensation, 5.82 million in shares, which were expected to vest over the

next three years, that the parties had agreed to, without an honest belief that good cause for

discharging Plaintiff was present.

       80.     Although Twitter advised Plaintiff that he would receive his severance package, his

February 1st vesting, bonus, and two months of paid COBRA benefits, as was being provided to

all other laid-off Company employees, Twitter never provided it, claiming that it was on hold

pending an investigation regarding his conduct during his employment.

       81.     The purported investigation into Plaintiff’s conduct was a sham investigation, in an

attempt to deprive him of his severance package, his February 1st vesting, bonus, and two months

of paid COBRA as the results or reasons for said investigation were never disclosed to him.
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       82.     Further, Twitter failed to reimburse Plaintiff for his legitimate work expense report

in the amount of $4,800, which is due and owing.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants, and seeks

the following relief:

               (a) Compensatory damages;

               (b) Punitive damages;

               (c) Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (d) Such other relief as may be deemed just and appropriate under the

                   circumstances.

                                      COUNT II
         Unlawful Termination, New Jersey Conscientious Employee Protection Act
                                N.J.S.A. §34:19-1 et seq.

       83.     Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

       84.     Twitter, Inc. is an “employer” within the meaning of N.J.S.A. §34:19-2(a).

       85.     Defendant Elon Musk is an “employer” and a “supervisor” within the meaning of

N.J.S.A. §34:19-2(a) and (d).

       86.     Defendant Steve Davis is an “employer” and a “supervisor” within the meaning of

N.J.S.A. §34:19-2(a) and (d).

       87.     The actions of Defendants were in direct violation of the New Jersey Conscientious

Employee Protection Act, N.J.S.A. §34:19-1 et seq.

       88.     Plaintiff objected to cutting Twitter’s products and services that supported and

complied with the Twitter FTC Consent Decree as he had a reasonable belief that cutting these

programs would prevent Twitter from complying with its obligations under the Twitter FTC

Consent Decree Order.



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        89.     Plaintiff reasonably believed that the immediate shutdown of Salesforce was a

violation of a law, rule, or regulation because the Company would be unable to respond to law

enforcement inquiries in violation of the DSA’s legal requirements and jurisdictional rules around

the globe.

        90.     Plaintiff reasonably believed that immediately cutting the physical budget by an

additional 50% in a couple of hours, resulting in more layoffs, without new security measures in

place, would violate a law, rule, or regulation because the Company would be violating litigation

holds, per Court Orders. As such, there would be no way to preserve the 800 plus physical laptops

and other electronic devices subject to the litigation holds, that were stored at that physical location

to ensure that they were preserved and were not removed, destroyed, or altered in any way.

        91.     Plaintiff objected to the conduct and activities of Defendants that Plaintiff

reasonably believed to be unlawful.

       92.     Plaintiff was discharged from employment because he objected to the conduct and

activities that Plaintiff reasonably believed to be unlawful.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants X Corp.,

X Holdings Corp., Musk, Davis, John and Jane Does 1-10, and ABC Corporations 1-10, and seeks

the following relief:

               (a)      Compensatory damages;

               (b)      Emotional distress damages;

               (c)      Punitive damages;

               (d)      Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (e)      Such other relief as may be deemed just and appropriate under the

                        circumstances.



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                                          COUNT III
                             Common Law Retaliation in Violation of
                     Pierce v. Ortho Pharmaceutical Group, 84 N.J. 58, (1980)

        93.    Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

        94.    Plaintiff was terminated for declining to perform an act or acts, objecting to and/or

complaining about an act or acts that he believed to be a violation of the law, rules, regulations,

and/or public policy.

        95.    A causal connection exists between Plaintiff’s termination and his whistleblowing

activities.

        96.    Defendants acted maliciously and willfully in creating a pretextual sham

investigation regarding Plaintiff’s conduct.

        97.    The actions of Defendant’s terminating Plaintiff were contrary to the public policies

of New Jersey and have caused Plaintiff to suffer damages.

        WHEREFORE, Plaintiff demands that judgment be entered against Defendants, and seeks

the following relief:

               (a)      Compensatory damages;

               (b)      Emotional distress damages;

               (c)      Punitive damages;

               (d)      Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (e)      Such other relief as may be deemed just and appropriate under the

                        circumstances.

                                           COUNT IV
                             Violation of New York Labor Law §740

        98.    Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

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       99.     Plaintiff was an “employee” of Twitter pursuant to NY Labor Law §740(1)(a).

       100.    Twitter is an “employer” within the meaning of NY Labor Law §740(1)(b).

       101.    Defendant Elon Musk is an “employer” and a “supervisor” within the meaning of

NY Labor Law §740(1)(b) and (1)(f).

       102.    Defendant Steve Davis is an “employer” and a “supervisor” within the meaning of

NY Labor Law §740(1)(b) and (1)(f).

       103.    The actions of Defendants were in direct violation of the NY Labor Law §740.

       104.    Plaintiff objected to cutting Twitter’s products and services that supported and

complied with the Twitter FTC Consent Decree as he had a reasonable belief that cutting these

programs would prevent Twitter from complying with its obligations under the Twitter FTC

Consent Decree Order.

       105.    Plaintiff reasonably believed that the immediate shutdown of Salesforce was a

violation of a law, rule, or regulation because the Company would be unable to respond to law

enforcement inquiries in violation of the DSA’s legal requirements and jurisdictional rules around

the globe.

       106.    Plaintiff reasonably believed that immediately cutting the physical budget by an

additional 50% in a couple of hours, resulting in more layoffs, without new security measures in

place, would violate a law, rule, or regulation because the Company would be violating litigation

holds, per the Court Orders. As such, there would be no way to preserve the 800 plus physical

laptops and other electronic devices subject to the litigation holds, that were stored at that physical

location to ensure that they were preserved and were not removed, destroyed, or altered in any

way.




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       107.    Plaintiff also had a reasonable belief that cutting the physical budget again, without

new security measures in place posed a substantial and specific danger to the public health and/or

safety because there were numerous protestors at the physical building location.

       108.    Plaintiff objected to, and/or refused to participate in any such activity, policy, or

practice.

       109.    Plaintiff was proximately terminated from his employment with Twitter because he

objected to, and/or refused to participate in any such activity, policy, or practice.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants X Corp.,

X Holdings Corp., Musk, Davis, John and Jane Does 1-10, and ABC Corporations 1-10 and seeks

the following relief:

               (a)       Compensatory damages;

               (b)       Emotional distress damages;

               (c)       Punitive damages;

               (d)       Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (e)       Such other relief as may be deemed just and appropriate under the

                         circumstances.

                                             COUNT V
                     Retaliation in Violation of California Labor Code §1102.5

       110.    Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

       111.    At all times herein, California Labor Code §1102.5 was in effect and binding on

Defendants. This section requires Defendants to refrain from retaliating against an employee for

refusing to participate in an activity that he reasonably believes would result in a violation of state

or federal statute, or a violation of or noncompliance with a state or federal rule or regulation.




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       112.     At all times relevant, Twitter, Inc. was Plaintiff’s “employer” for the purposes of

California Labor Code §1102.5.

       113.    Defendant Elon Musk was an “employer” and/or a “person acting on behalf of the

employer” for the purposes of California Labor Code §1102.5.

       114.    Defendant Steve Davis was an “employer” and a “person acting on behalf of the

employer” for the purposes of California Labor Code §1102.5.

       115.    Plaintiff objected to cutting Twitter’s products and services that supported and

complied with the Twitter FTC Consent Decree as he had a reasonable belief that cutting these

programs would prevent Twitter from complying with its obligations under the Twitter FTC

Consent Decree Order.

       116.    Plaintiff reasonably believed that the immediate shutdown of Salesforce would

result in a violation of state or federal statute, or a violation of or noncompliance with a state or

federal rule or regulation because the Company would be unable to respond to law enforcement

inquiries in violation of the DSA’s legal requirements and jurisdictional rules around the globe.

       117.    Plaintiff reasonably believed that immediately cutting the physical budget by an

additional 50% in a couple of hours, resulting in more layoffs, without new security measures in

place, would result in a violation of state or federal statute, or a violation of or noncompliance with

a local, state, or federal rule or regulation, because the Company would be violating litigation

holds, per the Court Orders. As such, there would be no way to preserve the 800 plus physical

laptops and other electronic devices subject to the litigation holds, that were stored at that physical

location to ensure that they were preserved and were not removed, destroyed, or altered in any

way.

       118.    Plaintiff also had a reasonable belief that cutting the physical budget again, without

new security measures in place would result in a violation of state or federal statute, or a violation
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of or noncompliance with a local, state, or federal rule or regulation because it posed a substantial

and specific danger to the public health and/or safety as there were numerous protestors at the

physical building location.

       119.    Plaintiff objected to and refused to participate in such activities that would result in

a violation of state or federal statute, or a violation of or noncompliance with a local, state, or

federal rule or regulation.

       120.    Defendants retaliated against Plaintiff for objecting to and refusing to participate in

such activities by terminating his employment with the Company.

       121.    As a direct and proximate result of such retaliation, Plaintiff has experienced

damages, including loss of salary, bonus, equity compensation, benefits, and emotional distress.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants X Corp.,

X Holdings Corp., Musk, Davis, John and Jane Does 1-10, ABC Corporations 1-10, and seeks the

following relief:

               (a)     Compensatory damages;

               (b)     Emotional distress damages;

               (c)     Punitive damages;

               (d)     Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (e)     Such other relief as may be deemed just and appropriate under the

                       circumstances.

                                       COUNT VI
                      Wrongful Termination in Violation of Public Policy

       122.    Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

       123.    At all times referenced in this Demand for Arbitration, California Labor Code

Section §1102.5 was in full force and effect and was binding on Defendants. This law requires

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Defendants to refrain, among other things, from retaliating against employees who refuse to

participate in or condone conduct they reasonably believe to violate state or federal law.

        124.   Plaintiff was terminated for declining to perform an act or acts, objecting to and/or

complaining about an act or acts that he believed to be a violation of the law, rules, regulations

and/or public policy.

        125.   A causal connection exists between Plaintiff’s termination and his whistleblowing

activities.

        126.   Defendants acted maliciously and willfully in creating a pretextual sham

investigation regarding Plaintiff’s conduct.

        127.   The actions of Defendants in terminating Plaintiff were contrary to the public

policies of California and have caused Plaintiff to suffer damages.

        WHEREFORE, Plaintiff demands that judgment be entered against Defendants, and seeks

the following relief:

               (a)      Compensatory damages;

               (b)      Punitive damages;

               (c)      Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (d)      Such other relief as may be deemed just and appropriate under the

                        circumstances.

                                           COUNT VII
                                  Violation of Federal Warn Act
                                     29 U.S.C. §§2101 et seq.

        128.   Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

        129.   Plaintiff is entitled to the rights, protections, and benefits provided under the federal

WARN Act, 29 U.S.C. §§2101 et seq.



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       130.      Twitter was, and is, subject to the notice and back pay requirements of the federal

WARN Act because Twitter is a business enterprise that employed 100 or more employees,

excluding part-time employees, and/or employed 100 or more employees who in the aggregate

work at 4,000 hours per week (exclusive of overtime) as defined in the WARN Act 29 U.S.C.

§§2101(a)(1)(A) and (B).

       131.      Twitter engaged in conducting mass layoffs, including laying off Plaintiff, but

failed to provide Plaintiff with the required notice under the federal WARN Act.

       WHEREFORE, Plaintiff demands that judgment be entered against Defendants, and seeks

the following relief:

                 (a)     Compensatory damages;

                 (b)     Punitive damages;

                 (c)     Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

                 (d)     Such other relief as may be deemed just and appropriate under the

                         circumstances.

                                            COUNT VIII
                          Violation of California & New York Warn Acts

       132.      Plaintiff repeats and re-alleges the allegations as if specifically set forth herein.

       133.      Plaintiff is entitled to the rights, protections, and benefits provided under the

California WARN Act, Cal. Lab. Code §1400 et seq. and New York WARN Act, N.Y. Lab. Law

§§ 860 et seq.

       134.      Twitter was, and is, subject to the notice and back pay requirements of the

California WARN Act because Twitter is a covered establishment that employed 75 or more

employees as defined in the California WARN Act., Cal. Labor Code §1400(a).




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        135.   Twitter was, and is, subject to the notice and back pay requirements of the New

York WARN Act because Twitter is a business enterprise that employed 50 or more employees as

defined in the New York WARN ACT, N.Y. Lab. Law §§ 860 et seq.

        136.   Twitter engaged in conducting mass layoffs, including laying off Plaintiff, but

failed to provide Plaintiff with the required notice under the California and New York WARN

Acts.

        WHEREFORE, Plaintiff demands that judgment be entered against Defendants, and seeks

the following relief:

               (a)       Compensatory damages;

               (b)       Punitive damages;

               (c)       Attorneys’ fees, pre- and post-judgment interest, and costs of suit;

               (d)       Such other relief as may be deemed just and appropriate under the

        circumstances.

                                                       Respectfully submitted,

Dated: December 5, 2023                                 /s/ Bruce L. Atkins
                                                       BRUCE L. ATKINS, ESQ.
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